          IN THE DISTRICT COURT OF THE UNITED STATES
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      CHARLOTTE DIVISION

                         CRIMINAL NO. 3:01CR72-2


UNITED STATES OF AMERICA )
                         )
                         )
         VS.             )                     ORDER
                         )
                         )
SOLOMON JACKSON          )
                         )

     THIS MATTER is before the Court on the Defendant’s pro se motion

for a transcript of the supervised release violation hearing conducted

August 24, 2006, and which resulted in the imposition of a six-month term

of imprisonment.

     The Court notes that the Defendant has filed notice of appeal and the

Fourth Circuit has appointed a federal defender to represent the Defendant

on appeal. Since the Defendant has counsel, he is advised that he should

communicate with the Court only through his attorney; therefore, the

motion will be denied.

     IT IS, THEREFORE, ORDERED that the Defendant’s pro se motion

for a transcript at government expense is hereby DENIED.




   Case 3:01-cr-00072-MR-DSC    Document 322    Filed 10/02/06   Page 1 of 2
                                 2

                                 Signed: October 2, 2006




Case 3:01-cr-00072-MR-DSC   Document 322    Filed 10/02/06   Page 2 of 2
